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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                             )
                                                      )
                Plaintiff,                            )
                                                      )
       vs.                                            )    CRIMINAL NO. 20-2124 MV
                                                      )
OLUTAYO SUNDAY OGUNLAJA,                              )
                                                      )
                Defendant.                            )


        UNITED STATES’ UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America respectfully requests that the Court grant a protective

order, and in support of this request states as follows:

       1.       The United States, in compliance with the Court’s Discovery Order, intends to

disclose and is in the process of disclosing the materials concerning the investigation of this case.

These materials include investigative reports, financial information, communications, and social

media documentation. These materials will hereinafter be referred to as the discovery material.

       2.       The discovery material contains information, such as personally identifiable

information (PII), that is highly subject to abuse.

       3.       It will take a great amount of time to redact this discovery material. The initial

reports that are being prepared for disclosure will likely consist of hundreds, if not thousands, of

pages. Preparing the disclosure is a time-intensive task, and redacting all these materials would

likely take an additional six weeks or more.

       4.       Because the United States would like to share the discovery material with counsel


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for Defendant as soon as possible, the United States proposes it provide defense counsel with

unredacted copies of the discovery material.

       5.      The United States respectfully requests that the Court enter an order restricting

defense counsel’s handling and use of the investigative reports and communication material as

follows:

               a.     Barring counsel for Defendant and/or anyone properly assisting counsel

                      for Defendant in the defense of this case from using the discovery material

                      for any purpose other than to prepare for this case, for necessary use in

                      motion practice, to impeach witnesses, to refresh a witness’s recollection,

                      or to test a witness’s credibility (assuming any such matters are otherwise

                      permitted by applicable authority, such as the Federal Rules of Evidence);

               b.     Barring counsel for Defendant and/or anyone properly assisting counsel

                      for Defendant in the defense of this case from disseminating the discovery

                      material or its content to anyone other than Defendant, the defense

                      investigator(s), and other members of the defense team in connection with

                      this case; and in no event shall PII be possessed by Defendant outside the

                      presence of his counsel. However, if the defense redacts all PII, those

                      portions can be disclosed to Defendant and retained consistent with the

                      American Bar Association standards on client file retention; and

               c.     Requiring counsel for Defendant and/or anyone properly assisting counsel

                      for Defendant in defense of this case to obtain permission from the Court

                      before setting forth protected information contained in the discovery

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                       material in any motion, publicly filed pleading, or at a hearing.

       6.      Alejandro Fernandez, counsel for Defendant, has been contacted and does not

oppose this motion.

       WHEREFORE, the United States respectfully requests that the Court enter the requested

protective order in this case.

                                                       Respectfully Submitted,

                                                       FRED J. FEDERICI
                                                       Acting United States Attorney

                                                                 /s/
                                                       KIMBERLY A. BRAWLEY
                                                       Assistant United States Attorney
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I HEREBY CERTIFY that I electronically filed
the foregoing with the Clerk of the Court
using the CM/ECF system which will send
notification to counsel for the Defendant.

          /s/
KIMBERLY A. BRAWLEY
Assistant United States Attorney




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